15-30151-dof   Doc 7   Filed 01/22/15   Entered 01/22/15 11:17:32   Page 1 of 13
15-30151-dof   Doc 7   Filed 01/22/15   Entered 01/22/15 11:17:32   Page 2 of 13
15-30151-dof   Doc 7   Filed 01/22/15   Entered 01/22/15 11:17:32   Page 3 of 13
15-30151-dof   Doc 7   Filed 01/22/15   Entered 01/22/15 11:17:32   Page 4 of 13
15-30151-dof   Doc 7   Filed 01/22/15   Entered 01/22/15 11:17:32   Page 5 of 13
15-30151-dof   Doc 7   Filed 01/22/15   Entered 01/22/15 11:17:32   Page 6 of 13
15-30151-dof   Doc 7   Filed 01/22/15   Entered 01/22/15 11:17:32   Page 7 of 13
15-30151-dof   Doc 7   Filed 01/22/15   Entered 01/22/15 11:17:32   Page 8 of 13
15-30151-dof   Doc 7   Filed 01/22/15   Entered 01/22/15 11:17:32   Page 9 of 13
15-30151-dof   Doc 7   Filed 01/22/15   Entered 01/22/15 11:17:32   Page 10 of 13
15-30151-dof   Doc 7   Filed 01/22/15   Entered 01/22/15 11:17:32   Page 11 of 13
15-30151-dof   Doc 7   Filed 01/22/15   Entered 01/22/15 11:17:32   Page 12 of 13
15-30151-dof   Doc 7   Filed 01/22/15   Entered 01/22/15 11:17:32   Page 13 of 13
